               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           ASHEVILLE DIVISION
                                 1:16 po 04


UNITED STATES OF AMERICA,                    )
                                             )
Vs.                                          )
                                             )             ORDER
1) CLAY DOUGLAS BRYSON,                      )
2) JAMES HARRISON JENKINS,                   )
3) TERRY RONALD JENKINS,                     )
4) DAVID ERIC WILLIAMS,                      )
                                             )
                  Defendants.                )
____________________________________         )


      THIS MATTER came before the undersigned at the September 22, 2016

CVB session of Court in the Cherokee Tribal Courthouse in Cherokee, North

Carolina for the purpose of initial appearance and arraignment hearings. At the

close of the initial appearance hearings and the arraignment hearings, the

undersigned presented the issue of scheduling the trial and other proceedings in this

matter. At that time, the Court was advised by AUSA David Thorneloe and all

counsel for Defendants, that an agreement had been reached between the parties

regarding the scheduling of various proceedings.     The agreement provided for the

following schedule:     1) the filing of any pretrial motions on behalf of any

Defendant shall be filed on or before October 18, 2016, and; 2) the response of the

Government to any pretrial motion filed by any Defendant shall be filed by

November 2, 2016. Should there be any necessity for oral hearing of any motions,

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they shall be held on December 5, 2016 in the United States Courthouse in Asheville,

North Carolina and the trial of these matters shall be scheduled for December 15,

2016.

        It appears to the Court that such scheduling is fit and appropriate and the

agreement of the parties as to scheduling shall be adopted by the Court.

                                      ORDER

        IT IS, THEREFORE, ORDERED as follows:

        1)    Any pretrial motions filed be filed on or before October 18, 2016;

        2)    Any response by the Government to any pretrial motions by any

Defendant shall be filed on or before November 2, 2016;

        3)    Should any oral hearings found by the Court to be necessary in regard

to any motions filed by any Defendant, such hearing shall be held on December 5,

2016 in Asheville, North Carolina; and

        4)    The trial of these matters shall be held jointly on December 15, 2016

in the United States Courthouse in Asheville, North Carolina.



                                       Signed: September 26, 2016




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